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      DANIEL B. ASIMOW (SBN 165661)
 1    Daniel.Asimow@arnoldporter.com
      ARNOLD & PORTER KAYE SCHOLER LLP
 2    Three Embarcadero Center, 10th Floor
      San Francisco, CA 94111
 3    Telephone:    (415) 471-3100
      Facsimile:    (415) 471-3400
 4
      SONIA K. PFAFFENROTH (SBN 223984)
 5    MATTHEW WOLF (admitted pro hac vice)
      MICHAEL BERNSTEIN (admitted pro hac vice)
 6    KOLYA D. GLICK (admitted pro hac vice)
      Sonia.Pfaffenroth@arnoldporter.com
 7    Matthew.Wolf@arnoldporter.com
      Michael.Bernstein@arnoldporter.com
 8    Kolya.Glick@arnoldporter.com
      ARNOLD & PORTER KAYE SCHOLER LLP
 9    601 Massachusetts Ave., N.W.
      Washington, DC 20001
10    Telephone:    (202) 942-5000
      Facsimile:    (202) 942-5999
11
      Attorneys for Defendant, THE KROGER CO.
12

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14                               UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16

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18     CHRISTINE WHALEN, et al.,                      Case No. 3:23-cv-00459-VC
                      Plaintiffs,
19                                                    STIPULATION AND [PROPOSED]
             v.                                       ORDER SETTING CASE DEADLINES
20
       THE KROGER CO., ALBERTSONS                     Hon. Vince Chhabria
21     COMPANIES, INC., and CERBERUS
       CAPITAL MANAGEMENT, L.P.,
22
                           Defendants.
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs Christine Whalen, et al., (“Plaintiffs”)

 2   and Defendants The Kroger Co., Albertsons Companies, Inc., and Cerberus Capital Management,

 3   L.P. (“Defendants”) hereby stipulate through their respective counsel of record to extend the briefing

 4   dates for Defendants’ anticipated Motions to Dismiss the Amended Complaint (ECF No. 93).

 5          WHEREAS, Plaintiffs filed their First Amended Complaint Charging The Kroger Co.’s

 6   Acquisition of Albertsons as a Violation of Section 7 of the Clayton Antitrust Act, 15 U.S.C. § 18

 7   (ECF No. 93) (“First Amended Complaint”) on October 2, 2023,

 8          WHEREAS, Defendants’ Motions to Dismiss the First Amended Complaint would be due on

 9   October 16, 2023,

10          WHEREAS, the Court has scheduled a Status Conference for October 20, 2023 (ECF No. 92)

11   (“Status Conference”),

12          WHEREAS, Defendants wish to have the benefit of any guidance the Court provides at the

13   Status Conference before any Motions to Dismiss and related briefings are filed,

14          WHEREAS, extending the briefing schedule for the Motions to Dismiss would further the

15   efficient disposition of this case by enabling the parties to address any issues raised by the Court at

16   the Status Conference,

17          WHEREAS, Plaintiffs do not object to this extension,

18          NOW THEREFORE, THE PARTIES BY COUNSEL HEREBY STIPULATE, subject to the

19   Court’s approval, to the following revision of the briefing schedule: (1) Defendants’ Motions to

20   Dismiss the First Amended Complaint are due on October 26, 2023, (2) Plaintiffs’ Opposition to

21   Defendants’ Motions to Dismiss the First Amended Complaint are due on November 9, 2023, (3)

22   Defendants’ Replies in Support of Motions to Dismiss are due on November 16, 2023. The parties

23   reserve the right to revisit this schedule in light of input received from the Court at the Status

24   Conference.

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26   IT IS SO STIPULATED.

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 1   Dated: October 12, 2023                Respectfully submitted,

 2
                                             ARNOLD & PORTER KAYE SCHOLER LLP
 3
                                             By: /s/ Daniel B. Asimow
 4                                           DANIEL B. ASIMOW (SBN 165661)
                                             daniel.asimow@arnoldporter.com
 5                                           Three Embarcadero Center, 10th Floor
                                             San Francisco, CA 94111
 6                                           Telephone: (415) 471-3100
                                             Facsimile:    (415) 471-3400
 7
                                             SONIA K. PFAFFENROTH (SBN 223984)
 8                                           MATTHEW WOLF (pro hac vice)
                                             MICHAEL B. BERNSTEIN (pro hac vice)
 9                                           sonia.pfaffenroth@arnoldporter.com
                                             matthew.wolf@arnoldporter.com
10                                           michael.b.bernstein@arnoldporter.com
                                             601 Massachusetts Ave., N.W.
11                                           Washington, DC 20001
                                             Telephone: (202) 942-5000
12                                           Facsimile:     (202) 942-5999
                                             Attorneys for Defendant, THE KROGER CO.
13

14                                           DEBEVOISE & PLIMPTON LLP

15                                           By: /s/ John Neukom
                                             JOHN (JAY) NEUKOM (SBN 275887)
16                                           jneukom@debevoise.com
                                             650 California Street
17                                           San Francisco, CA 94108
                                             Telephone: (415) 738-5700
18
                                             EDWARD D. HASSI (pro hac vice)
19                                           LEAH S. MARTIN (pro hac vice)
                                             thassi@debevoise.com
20                                           lmartin@debevoise.com
                                             801 Pennsylvania Avenue, N.W.
21                                           Washington, DC 20004
                                             Telephone: (202) 383-8000
22                                           SHANNON R. SELDEN (pro hac vice)
                                             J. ROBERT ABRAHAM (pro hac vice)
23                                           srselden@debevoise.com
                                             jrabraham@debevoise.com
24                                           66 Hudson Boulevard
                                             New York, NY 10001
25                                           Telephone: (212) 909-6000
26                                           Attorneys for Defendant, ALBERTSONS COMPANIES,
                                             INC.
27

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                                             DECHERT LLP
 1
                                             By: /s/ Russel P. Cohen_________________
 2                                           Russell P. Cohen (SBN 213105)
                                             Joseph D. Trujillo (SBN 305170)
 3                                           One Bush Street, Ste.1600
                                             San Francisco, CA 94104-4446
 4                                           Telephone: (415) 262-4500
                                             Fax: (415) 262-4555
 5
                                             Andrew J. Levander (admitted pro hac vice)
 6                                           1095 Avenue of the Americas
                                             New York, NY 10036-6797
 7                                           Telephone: (212) 698-3500
                                             Fax: (212) 698-3599
 8                                           Thomas J. Miller (admitted pro hac vice)
                                             2929 Arch Street
 9                                           Philadelphia, PA 19104
                                             Telephone: (215) 994-4000
10                                           Fax: (215) 994-2222
11                                           Attorneys for Defendant, CERBERUS CAPITAL
                                             MANAGEMENT, L.P.
12
                                             ALIOTO LAW FIRM
13
                                             By: /s/ Joseph M. Alioto
14                                           JOSEPH M. ALIOTO (SBN 42680)
                                             jmalioto@aliotolaw.com
15                                           TATIANA V. WALLACE (SBN 233939)
                                             One Sansome Street, Suite 3500
16                                           San Francisco, CA 94104
                                             Telephone: (415) 434-8900
17
                                             LAW OFFICES OF LAWRENCE G. PAPALE
18                                           LAWRENCE G. PAPALE (SBN 67068)
                                             lgpapale@papalelaw.com
19                                           1308 Main Street, Suite 117
                                             St. Helena, CA 94574
20                                           Telephone: (707) 963-1704
21                                           THE VEEN FIRM
                                             JOSEPHINE ALIOTO (SNB 282989)
22                                           jalioto@veenfirm.com
                                             20 Haight Street
23                                           San Francisco CA 94102
                                             Telephone: (415) 673-4800
24

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 1                                           NEDEAU LAW PC
                                             CHRISTOPHER A. NEDEAU (SBN 81297)
 2                                           cnedeau@nedeaulaw.net
                                             154 Baker Street
 3                                           San Francisco, CA 94117-2111
                                             Telephone: (415) 516-4010
 4
                                             Attorneys for Plaintiffs
 5

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 1                                   SIGNATURE ATTESTATION

 2          I, Daniel B. Asimow, am the ECF user whose user ID and password are being utilized to

 3   electronically file this STIPULATION AND [PROPOSED] ORDER SETTING CASE

 4   DEADLINES. Pursuant to Local Rule 5-1(i)(3), I hereby attest that the other signatories have

 5   concurred in this filing.

 6   Dated: October 12, 2023
                                                 ARNOLD & PORTER KAYE SCHOLER LLP
 7

 8                                               By: /s/ Daniel B. Asimow
                                                     DANIEL B. ASIMOW
 9
                                                    Attorney for Defendant
10                                                  THE KROGER CO.
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 1                                               ORDER

 2         Based on the stipulation of the parties, and good cause appearing therefore, IT IS HEREBY

 3   ORDERED that the Stipulation is approved.

 4         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 5   Dated:_________________

 6
                                                 _________________
 7                                               THE HONORABLE VINCE CHHABRIA
                                                 United States District Judge
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     STIPULATION AND [PROPOSED] ORDER SETTING CASE DEADLINES                        NO. 3:23-cv-00459-VC
